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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                WACO DIVISION


  ACQIS LLC,
  a Texas limited liability company,              Civil Action No. 6:23-cv-00882

                     Plaintiff,
          v.
                                                  JURY TRIAL DEMANDED
  ADVANTECH CO., LTD., a Taiwanese
  corporation,

                     Defendant.


                PLAINTIFF’S CORPORATE DISCLOSURE STATEMENT

       Pursuant to Federal Rule of Civil Procedure 7.1, Plaintiff ACQIS LLC hereby states that it

is a limited liability company organized and existing under the laws of the State of Texas, having

a principal place of business at 411 Interchange Street, McKinney, Texas 75071. ACQIS LLC is

a wholly-owned subsidiary of parent company ACQIS Technology, Inc., a corporation organized

and existing under the laws of the State of Delaware. No publicly-held corporation owns 10% or

more of ACQIS Technology, Inc.’s stock.

Dated: December 22, 2023.                    Respectfully submitted,

                                       By: /s/ Paige Arnette Amstutz
                                            Paige Arnette Amstutz
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                                             Attorneys for Plaintiff ACQIS LLC

                                 CERTIFICATE OF SERVICE

         Pursuant to the Federal Rules of Civil Procedure and Local Rule CV-5, I hereby certify

that, on December 22, 2023, all counsel of record who have appeared in this case are being

served with a copy of the foregoing via the Court’s CM/ECF system.


                                             /s/ Paige Arnette Amstutz
                                             Paige Arnette Amstutz




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